                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                               WESTERN DIVISION

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KIMBERLY DIEI,                                )
                                              )
                                              )
                 Plaintiff,                   )
                                              )
v.                                            )             Case No. 21-cv-2071-JTF
                                              )
                                              )
RANDY BOYD, et al.,                           )
                                              )
                                              )
              Defendants.                     )



                                       JUDGMENT
______________________________________________________________________________

       Decision by Court. This action came for consideration before the Court. The issues have
been duly considered and a decision has been rendered.

       IT IS ORDERED AND ADJUDGED that this action is Dismissed with prejudice in
accordance with the Order Granting Defendants’ Motions to Dismiss entered on August 3, 2023,
and the Order rendering Motion to Dismiss for Lack of Subject Matter Jurisdiction Moot that was
entered on August 4, 2023.


APPROVED:

s/John T. Fowlkes, Jr.                                    Wendy R. Oliver
JOHN T. FOWLKES, JR.                                      CLERK
UNITED STATES DISTRICT JUDGE
August 8, 2023                                            s/Lorri J. Fentress     _____
DATE                                                      (BY) LAW CLERK
